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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Galen Traylor,
                                                          Case No. __________________
                            Plaintiff,
vs.
                                                                        Notice of Removal
U.S. Bankcorp, U.S. Bank,

                            Defendant.


TO:    Plaintiff and her attorney, David J.S. Madgett, Madgett Law, LLC, 619 South
       Tenth Street, Suite 301, Minneapolis, MN 55404.

       Under 28 U.S.C. § 1446, defendant U.S. Bank National Association (incorrectly

named in the Complaint as “U.S. Bankcorp, U.S. Bank”) (hereinafter “U.S. Bank”),

hereby gives notice of the removal of the above-entitled action to the United States

District Court for the District of Minnesota, and in support of the Notice of Removal

states as follows:

       1.     On or about May 15, 2017, plaintiff commenced an action against U.S.

Bank in Hennepin County District Court entitled Galen Traylor v. U.S. Bankcorp, U.S.

Bank (the “State Action”). A copy of the Complaint in the State Action is attached to this

Notice of Removal.

       2.     Copies of all other process, pleadings, and orders served on U.S. Bank in

the State Action are attached collectively to this Notice of Removal.

       3.     The United States District Court for the District of Minnesota has original

jurisdiction over this action under 28 U.S.C. § 1331. The Court has federal-question
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jurisdiction under 28 U.S.C. § 1331 because plaintiff alleges that U.S. Bank violated the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq. See Mims v.

Arrow Financial Services, LLC, 132 S. Ct. 740 (U.S. 2012) (holding that the TCPA’s

permissive grant of jurisdiction to state courts does not deprive the U.S. district courts of

federal-question jurisdiction over private TCPA suits).

         4.       This Notice of Removal is filed within 30 days after service of the

Summons and Complaint on U.S. Bank.

         5.       The United States District Court for the District of Minnesota is the District

Court for the district embracing the entire state of Minnesota, where the State Action is

currently pending. See 28 U.S.C. § 103. Venue is therefore proper in this district under 28

U.S.C. § 1441(a).

         6.       U.S. Bank expressly reserves its right to raise all defenses and objections to

plaintiff’s claims after the action is removed to the above Court.



Dated: June 2, 2017                                  s/ Jessica Z. Savran
                                                     Erin L. Hoffman
                                                     Bar Number 0387835
                                                     Jessica Z. Savran
                                                     Bar Number 0348983
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